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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   (at Covington)

  TIMOTHY GREGG,                                 )
                                                 )
          Plaintiff,                             )          Civil Action No. 2: 24-134-DCR
                                                 )
  V.                                             )
                                                 )
  ST. ELIZABETH                                  )                    ORDER
  MEDICAL CENTER, INC.,                          )
                                                 )
         Defendant.                              )

                                    ***    ***       ***   ***

       The Court’s Scheduling Order directs the parties to tender a joint status report the first

Monday of each month. [Record No. 15 ¶ 18] However, they have failed to comply with this

requirement. Accordingly, it is hereby

       ORDERED that the parties are directed to SHOW CAUSE on or before Friday,

January 17, 2025, why this matter should not be set for a status conference with the parties’

attendance required.

       Dated: January 10, 2025.




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